                                  Filed:
                                 12/08/2022   13:01 :27
           Case 2:23-cv-00332-DCN      Document     2-4 Filed 07/18/23 Page 1 of 1
                          First Judicial District, Kootenai County
                          Jim Brannon, Clerk of the Court
                          By: Deputy Clerk - Booth, Kathy

                 IN THE DISTRICT COURT OF THE FIRST JUDICIAL DISTRICT OF
                 THE STATE OF IDAHO, IN AND FOR THE COUNTY OF KOOTENAI



Merle SiJohn                                             Case No. CV28-22-7418
    Plaintiff,
vs.                                                      Voluntary Disqualiﬁcation
Kootenai County,Robert Norris,Zachary
                                                         Idaho Rules of Civil Procedure 40(c)
Sifford,John Novak,Kootenai County Sheriff‘s
Office,John & Jane Does 1-10
    Defendant.


l voluntarily   disqualify myself from any further proceedings in this case pursuant to Idaho Rules




                                                 -
of Civil Procedure 40(0) and request reassignment of this case.



Dated:                Z    L
                                           CERTIFICATE OF SERVICE

I   certify that on this date, I served a copy of the attached to:

    Monica Marie Flood Brennan                  mbrennanpc@outlook.com                                         [X] E-mail




Honorable Cynthia Meyer - odyssey queue                                                              4




Karlene Behringer                                 kbehringer@lqogov.us                      ‘
                                                                                                              [X] By E-mail
                                                                  —+\

                                                   Jim Brannon;

                      /’                           Clerk ofcthegCourt‘n.‘

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Dated:
                                                       Deputy Clerk




Voluntary Disqualiﬁcation (Civil)                                                                                    Page 1 of 1
